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                                                              United States Bankruptcy Court
                                                               Northern District of Florida
In re:                                                                                                                 Case No. 21-30366-KKS
Brian Randolph Dickens                                                                                                 Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 1129-3                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Sep 14, 2021                                               Form ID: 318                                                              Total Noticed: 19
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Sep 16, 2021:
Recip ID                 Recipient Name and Address
db                     + Brian Randolph Dickens, 5893 Douglas Ferry Rd., Caryville, FL 32427-2347
2404131                  BB&T, 114400 PANAMA CITY BEACH PKWY, PANAMA CITY BEACH, FL 32407
2404136                + EQUIFAX (DISPUTES), PO BOX 740256, ATLANTA, GA 30374-0256
2404137                + EXPERIAN, 475 ANTON RD, COSTA MESA, CA 92626-7037
2404138                + HRRG, P.O. BOX 8486, CORAL SPRINGS, FL 33075-8486
2404140                + SEQUIUM ASSET SOLUTION/AT&T, 1130 N CHASE PKWY SE STE 150, MARIETTA, GA 30067-6429
2404141                + TRANSUNION (DISPUTES), P.O. BOX 900, WOODLYN, PA 19094-0900

TOTAL: 7

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
smg                       EDI: FLDEPREV.COM
                                                                                        Sep 15 2021 03:38:00      Florida Dept. of Labor/Employment Security, c/o
                                                                                                                  Florida Dept. of Revenue, P.O. Box 6668,
                                                                                                                  Tallahassee, FL 32314-6668
smg                       EDI: FLDEPREV.COM
                                                                                        Sep 15 2021 03:38:00      Florida Dept. of Revenue, Bankruptcy Unit, P.O.
                                                                                                                  Box 6668, Tallahassee, FL 32314-6668
smg                       Email/Text: USAFLN.TLHBankruptcy@usdoj.gov
                                                                                        Sep 14 2021 23:37:00      U.S. Attorney (Pensacola Office), 21 E. Garden
                                                                                                                  Street #400, Pensacola, FL 32501
smg                       Email/Text: USAFLN.TLHBankruptcy@usdoj.gov
                                                                                        Sep 14 2021 23:37:00      U.S. Attorney (Tallahassee Office), 111 N. Adams
                                                                                                                  Street, Fourth Floor, Tallahassee, FL 32301
cr                     + Email/Text: bankruptcy@bbandt.com
                                                                                        Sep 14 2021 23:37:00      BB&T Now Truist, BB&T now Truist, PO Box
                                                                                                                  1847, Wilson, nc 27894-1847
2404130                   EDI: BANKAMER.COM
                                                                                        Sep 15 2021 03:38:00      BANK OF AMERICA, ATTN: BANKRUPTCY
                                                                                                                  DEPARTMENT, P.O. BOX 982238, EL PASO,
                                                                                                                  TX 79998
2404133                   Email/Text: bankruptcy@bbandt.com
                                                                                        Sep 14 2021 23:37:00      BB&T BANK, P.O. BOX 2306, WILSON, NC
                                                                                                                  27894
2404132                + Email/Text: bankruptcy@bbandt.com
                                                                                        Sep 14 2021 23:37:00      BB&T, ATTN: BANKRUPTCY DEPT, P.O.
                                                                                                                  BOX 580302, CHARLOTTE, NC 28258-0302
2404134                + Email/Text: bankruptcy.notifications@fisglobal.com
                                                                                        Sep 14 2021 23:37:00      CHEX SYSTEMS, ATTN: CUSTOMERS
                                                                                                                  RELATIONS, 7805 HUDSON RD., STE 100,
                                                                                                                  SAINT PAUL, MN 55125-1703
2404135                + EDI: DISCOVER.COM
                                                                                        Sep 15 2021 03:38:00      DISCOVER FINANCIAL SERVICES, ATTN:
                                                                                                                  BANKRUPTCY, PO BOX 3025, NEW
                                                                                                                  ALBANY, OH 43054-3025
2404139                   Email/Text: camanagement@mtb.com
                                                                                        Sep 14 2021 23:37:00      M&T Bank, P.O. Box 64679, BALTIMORE, MD
                                                                                                                  21264
2404142                + EDI: WFFC.COM
                                                                                        Sep 15 2021 03:43:00      WELLS FARGO, ATTN: BANKRUPTCY
                                                                                                                  DEPARTMENT, 1 HOME CAMPUS, DES
                                                                                                                  MOINES, IA 50328-0001
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Date Rcvd: Sep 14, 2021                                           Form ID: 318                                                          Total Noticed: 19
TOTAL: 12


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Sep 16, 2021                                        Signature:           /s/Joseph Speetjens




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on September 14, 2021 at the address(es) listed
below:
Name                             Email Address
Karin A. Garvin
                                 trustee@kgarvinlaw.com rrichter@kgarvinlaw.com;FL61@ecfcbis.com;kag@trustesolutions.net

Martin S. Lewis
                                 on behalf of Debtor Brian Randolph Dickens landj@4-debtor.com

United States Trustee
                                 USTPRegion21.TL.ECF@usdoj.gov


TOTAL: 3
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Information to identify the case:
Debtor 1              Brian Randolph Dickens                                      Social Security number or ITIN   xxx−xx−3586
                      First Name   Middle Name   Last Name                        EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                          Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                  EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Northern District of Florida

Case number: 21−30366−KKS



Order of Discharge                                                                                                         12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           Brian Randolph Dickens
           aka Brian R. Dickens


           9/14/21                                                        By the court: Karen K. Specie
                                                                                        United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                           This order does not prevent debtors from paying
and it does not determine how much money, if                             any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                     debts according to the reaffirmation agreement.
                                                                         11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                Most debts are discharged
attempt to collect a discharged debt from the                            Most debts are covered by the discharge, but not
debtors personally. For example, creditors                               all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                          personal liability for debts owed before the
or otherwise try to collect from the debtors                             debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                         Also, if this case began under a different chapter
in any attempt to collect the debt personally.                           of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                         to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                              are discharged.
However, a creditor with a lien may enforce a                            In a case involving community property: Special
claim against the debtors' property subject to that                      rules protect certain community property owned
lien unless the lien was avoided or eliminated.                          by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                            not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                        For more information, see page 2 >




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Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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